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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION AT DAYTON

NICOLE MANNING, : Case No. 3:19-cv-289
Plaintiff, : District Judge Walter H. Rice
: Magistrate Judge Sharon L. Ovington

VS.

COMMISSIONER OF THE SOCIAL
SECURITY ADMINISTRATION,

Defendant.

 

DECISION AND ENTRY

 

This case is before the Court on the parties’ Joint Motion for an Award of
Attorney Fees under the Equal Access to Justice Act (“EAJA”), 28 U.S.C. § 2412.
(Doc. #17). Specifically, the parties stipulate to an award to Plaintiff of attorney fees
in the amount of $4,400.00 in full satisfaction and settlement of any and all claims
Plaintiff may have under the EAJA in the above case. The award of attorney fees will
satisfy all of Plaintiff's claims for fees, costs, and expenses under 28 U.S.C. § 2412 in
this case. This motion is not intended to set precedent for, or a representation of, any
specific hourly rate or a total number of hours. Any fees paid belong to Plaintiff, and
not her attorney, and said can be offset to satisfy pre-existing debt that Plaintiff owes

the United States under Astrue v. Ratliff, 560 U.S. 586 (2010).

After the Court enters this award, if counsel for the parties can verify that

Plaintiff owes no pre-existing debt subject to offset, Defendant agrees to direct that the
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award be made payable to Plaintiff's attorney pursuant to the EAJA assignment duly
signed by Plaintiff and counsel.
IT IS THEREFORE ORDERED THAT:

I; The Parties’ Joint Stipulation for an Award of Attorney Fees
under the Equal Access to Justice Act (Doc. #17) is accepted
and Defendant shall pay Plaintiffs attorney fees, costs, and
expenses in the total amount of $4,400.00;

2. Counsel for the parties shall verify, within thirty days of this
Decision and Entry, whether or not Plaintiff owes a pre-
existing debt to the United States subject to offset. Ifno such
pre-existing debt exists, Defendant shall pay the EAJA award
directly to Plaintiff's counsel pursuant to the EAJA assignment
signed by Plaintiff and counsel; and

3. The case remains terminated on the docket of this Court.

IT IS SO ORDERED.

G-1B-20 Le x ct Ae
Walter H. Rice
United States District Judge
